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                                  UNITED STATES DISTRICT COURT
                                      Northern District of Illinois
                                      219 South Dearborn Street
                                        Chicago, Illinois 60604

Thomas G. Bruton                                                                       312-435-5670
Clerk



Date: 8/17/2018                                         Case Number: 18cv5031

Case Title: Shenzhen Jinghe Technology Co.,             Judge: Ellis
            Ltd. v. Does 1-166

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                                                        Thomas G. Bruton, Clerk

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